Case 1:25-mj-00135-RSK   ECF No. 1-2, PageID.17   Filed 03/07/25   Page 1 of 1




                               Attachment A

                  Description of Devices to be Searched

     The Subject Devices, which are currently secured with the Kalamazoo
Department of Public Safety:

         a.    Subject Device 1: black Hot Pepper, model HPPL62A flip-phone,

               IMEI 358371951776890, with no case.

         b.    Subject Device 2: black iPhone 14, unknown model, unknown

               IMEI, with no case.

         c.    Subject Device 3: black iPhone 14 Plus, unknown model,

               unknown IMEI, with no case.




                                     1
